                   Proposed Amendments to Paragraph 46(a) [Tracked Changes]

       46.     Release by Named Plaintiffs and the Class:

       (a)     Upon the Final Settlement Date, each Class Member, as well as each Named

Plaintiff, releases and discharges the Genworth Released Parties of and from any and all known

or unknown, contingent or absolute, matured or unmatured, suspected or unsuspected, disclosed

or undisclosed, foreseeable or unforeseeable, liquidated or unliquidated, existing or arising in the

future, and accrued or unaccrued claims, demands, interest, penalties, fines, and causes of action,

that the Named Plaintiffs and Class Members may have from the beginning of time through and

including the Final Settlement Date that relate to claims alleged, or that have a reasonable

connection with any matter of fact set forth in the Action including, but not limited to, any

claims relating to rate increases on Class Policies. This release specifically includes any legal or

equitable claim arising from or related to any election or policy change made or not made by any

Class Members to his or her policy benefits prior to the Final Settlement Date. Named Plaintiffs

and Class Members, subject to the exception set forth below, will further release the Genworth

Released Parties and Class Counsel from any future claims, on any legal or equitable basis,

relating to or arising out of the Disclosures the Class Members are provided as part of the

Settlement Agreement, including (but not limited to) claims specifically relating to any alleged

omissions in the Disclosures or any decision, or non-decision, to maintain, modify, or give up

coverage based on the Disclosures or Special Election Options offered. Special

Election Options and/or statements and representations provided in connection with the Special

Election Options including (but not limited to) any claim specifically relating to any decision, or

non-decision, to maintain, modify, or give up coverage. Collectively, the claims described in this
paragraph shall be referred to as the “Released Claims.” The following claim shall not be a

Released Claim: if within one year of the date a Class Member makes a Special Election or one

year of the deadline for the Class Member to make a Special Election, whichever is earlier, a

Class Member who believes he or she was harmed by an express and intentional

misrepresentation in the Disclosures or in representations made by the Genworth Released

Parties or Class Counsel about the Disclosures can pursue a claim in this Court via verified

complaint or verified petition, provided that, before filing any such claim, the Class Member

shall first notify the Parties of the basis for the claim and provide them with a reasonable

opportunity to investigate and, if appropriate, remedy the alleged harm.
